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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                 §
In re:                           §                              Chapter 11
                                 §
NEIGHBORS LEGACY HOLDINGS, INC., §                              Case No. 18-33836 (MI)
et al.,                          §
                                 §                              (Jointly Administered)
         Debtors. 1              §

   DEBTORS’ MOTION FOR AN ORDER (I) AUTHORIZING DEBTORS TO (A)
   MAINTAIN EXISTING INSURANCE POLICIES AND PAY ALL INSURANCE
OBLIGATIONS THEREUNDER AND (B) RENEW, REVISE, EXTEND, SUPPLEMENT,
 CHANGE, OR ENTER INTO NEW INSURANCE POLICIES, AND (II) DIRECTING
 FINANCIAL INSTITUTIONS TO HONOR ALL RELATED PAYMENT REQUESTS

    THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU.
    IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
    MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
    CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
    MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS
    OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
    THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
    RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU.
    IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU
    MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
    COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
    MOTION AT THE HEARING.
    REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

         Neighbors Legacy Holdings, Inc. (“Neighbors”) and certain of its affiliates and

subsidiaries, as debtors and debtors in possession in the above-captioned cases (collectively, the

“Debtors”), hereby move (the “Motion”) this Court for entry of an order (I) authorizing, but not

directing, the Debtors to (A) maintain their existing insurance policies and pay all insurance

obligations arising thereunder or in connection therewith, (B) renew, revise, extend, supplement,



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  Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four digits
of their tax identification numbers is not provided herein. A complete list of such information may be obtained on
the website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/neighbors. The location of
                                                                                                              (cont’d)


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change, or enter into new insurance coverage as needed in their business judgment, and (II)

authorizing and directing financial institutions to receive, process, honor, and pay any and all

checks and electronic payment requests relating to the Insurance Obligations (as defined below),

to the extent the Debtors have sufficient funds on deposit or otherwise available therefor. In

support of the Motion, the Debtors rely upon and incorporate by reference the Declaration of

Chad J. Shandler in Support of Chapter 11 Petitions and First Day Pleadings (the “First Day

Declaration”), filed with the Court concurrently herewith. In further support of the Motion, the

Debtors, by and through their proposed undersigned counsel, respectfully represent:

                                    JURISDICTION AND VENUE

        1.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This matter is a core

proceeding under 28 U.S.C. § 157(b)(2). Venue is proper before this Court pursuant to 28

U.S.C. § 1408.

        2.       The legal predicates for the relief requested herein are Bankruptcy Code sections

105(a), 361, 362, 363(b), 364, 1107(a), and 1108 and Bankruptcy Rules 6003 and 6004.

                                             BACKGROUND

        3.       On July 12, 2018 (the “Petition Date”), the Debtors each commenced a case by

filing a petition for relief under Chapter 11 of the Bankruptcy Code (collectively, the “Chapter

11 Cases”). The Debtors have requested that the Chapter 11 Cases be jointly administered.

        4.       The Debtors continue to operate their businesses and manage their properties as

debtors and debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.


________________________
(cont’d from previous page)
Debtors’ principal place of business and the Debtors’ service address is: 10800 Richmond Avenue. Houston, Texas
77042.


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        5.      To date, no creditors’ committee has been appointed in the Chapter 11 Cases by

the Office of the United States Trustee for the Southern District of Texas (the “United States

Trustee”). No trustee or examiner has been appointed in the Chapter 11 Cases.

        6.      The Debtors currently operate 22 freestanding emergency centers (the

“Emergency Centers”) throughout the State of Texas, including in South Texas, El Paso, the

Golden Triangle, the Permian Basin, the Panhandle, and the greater Houston area. The Debtors’

Emergency Centers are designed to offer an attractive alternative to traditional hospital

emergency rooms by reducing wait times, providing better working conditions for physicians

and staff, and giving patient care the highest possible priority.

        7.      The Debtors’ original parent was founded in 2008, and the first Neighbors

emergency center opened in 2009. At their peak, the Debtors operated 33 emergency centers

across three states. In recent years, the Debtors have experienced financial difficulties caused in

large part by increased competition, less favorable insurance payor conditions, declining

revenues, and disproportionate overhead costs as compared to their operational income. These

challenges have caused significant strain on the Debtors’ liquidity and threatened their ability to

continue operating as a going concern. Prepetition, the Debtors engaged professionals and

explored various out-of-court solutions, including closing unprofitable emergency centers and

downsizing their corporate overhead. Ultimately, the Debtors’ out-of-court restructuring efforts

were insufficient and the Debtors elected to commence these Chapter 11 Cases.

        8.      Additional background information regarding the Debtors, including their

business operations, their corporate and capital structure, and the events leading to the Chapter

11 Cases, is set forth in detail in the First Day Declaration.




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                                      RELIEF REQUESTED

        9.      By this Motion, the Debtors seek entry of an order (i) authorizing, but not

 directing, the Debtors to (a) maintain their existing insurance policies and pay all insurance

 obligations, including the Premium Financing Obligations (defined below) arising thereunder or

 in connection therewith, whether arising prepetition or post-petition and (b) renew, revise,

 extend, supplement, change, or enter into new insurance coverage, as needed, in their business

 judgment and (ii) authorizing and directing financial institutions to receive, process, honor, and

 pay any and all checks and electronic payment requests relating to the Insurance Obligations, to

 the extent the Debtors have sufficient funds on deposit or otherwise available therefor.

        10.     As set forth in more detail below, as of the Petition Date, the Debtors do not

believe that there are any outstanding amounts owed on account of the annual premiums for the

Insurance Policies (defined below). Nevertheless, the Debtors seek authority, but not direction,

to continue the Insurance Policies in the ordinary course of business on a postpetition basis.

        11.     To the extent any of the Insurance Policies (defined below) or related agreements

are executory contracts, the Debtors do not, at this time, seek to assume any executory contracts,

and nothing in the Motion shall be deemed to constitute postpetition assumption or adoption of

any agreement under Bankruptcy Code section 365. Notwithstanding the relief requested in this

Motion and any actions taken hereunder, nothing in this Motion shall create, nor is intended to

create, any rights in favor of, or enhance the status of any claim held by, any person.

        12.     For the reasons set forth in this Motion, the relief requested is in the best interests

of the Debtors, their estates, creditors, stakeholders, and other parties in interest, and should

therefore be granted.




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                                      BASIS FOR RELIEF

        13.     In connection with the operation of their businesses, the Debtors maintain

approximately 14 insurance policies with various insurance carriers (the “Insurance Carriers”)

covering items such as the Debtors’ property liability, auto liability, fiduciary liability,

cyber/regulatory liability, environmental liability, medical malpractice liability, workers’

compensation liability, and management liability (collectively, as such policies may be

supplemented, amended, extended, renewed, or replaced, the “Insurance Policies”). Most of the

Debtors’ Insurance Policies are financed through a premium finance agreement; however, three

of the Insurance Policies are paid directly by the Debtors (the “Other Policies” and together with

the Insurance Policies, the “Insurance Obligations”).

B.      The Financed Policies

        14.     As set forth above, most of the Debtors’ Insurance Policies are financed through a

premium finance agreement (the “Premium Financing Agreement”) entered into by and between

Neighbors Legacy Holdings, Inc., Neighbors Emergency Center, LLC, and IPFS Corporation

(“IPFS”) on February 27, 2018. See Exhibit A. A list of the Insurance Policies covered by the

Premium Financing Agreement (the “Financed Policies”) is attached as Exhibit B. Pursuant to

the Premium Finance Agreement, IPFS financed the Debtors’ 2018 premium payments for the

Financed Policies in the total aggregate amount of $515,708.41. The Debtors’ monthly payment

obligation to IPFS under the Premium Finance Agreement is $47,785.15 (the “Premium

Financing Obligations”). Installments under the Premium Financing Agreement are due on the

first of every month, with the first post-petition payment due on August 1, 2018.

C.      The Other Policies

        15.     The Debtors’ have other Insurance Policies that are not covered by the Premium

Finance Agreement (the “Other Policies”). A list of the Other Policies is attached as Exhibit C.

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D.        The Insurance Broker

          16.    The Debtors typically obtain their Insurance Policies through Arthur J. Gallagher

    & Co. (“Gallagher”). Gallagher assists the Debtors in obtaining comprehensive insurance

    coverage on advantageous terms and at competitive rates, and negotiating policy terms,

    provisions, and premiums. Gallagher also assists the Debtors with claims, provides ongoing

    support throughout the applicable policy periods, and advises the Debtors with respect to

    accounting and actuarial methodology. In connection with the Insurance Policies, Gallagher is

    paid for its services by the Insurance Carriers following receipt of the Debtors’ payments to

    IPFS under the terms of the Premium Finance Agreement.

E.        Outstanding Obligations

          17.    As of the Petition Date, the Debtors believe they are current on the Premium

Financing Obligations and the Other Policy Obligations. Accordingly, as of the Petition Date, the

Debtors do not owe any amounts in connection with the Insurance Policies. The Debtors seek

authority, but not direction, to pay any and all amounts in connection with the Insurance Policies

as they come due in the ordinary course of business.2

          18.    If the Debtors are unable to continue making payments on the Premium Financing

Agreement, IPFS may be permitted to terminate the Financed Policies. Likewise, if the Debtors

are unable to continue making payments on the Other Policies, the effected insurer may be

permitted to terminate its policy. The Debtors would then be required to obtain replacement

insurance on an expedited basis and at a cost to the estates. Even if policies are not terminated,

any interruption of payment would have an adverse effect on the Debtors’ ability to obtain or


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  To the extent that any Insurance Policy premiums may be attributable to prepetition insurance coverage,
the Debtors believe that payment of such premiums is necessary to ensure continued coverage.



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finance premiums for future policies. The Debtors’ maintenance of their relationships with IPFS

and the Insurance Carriers is critical to ensuring the continued availability of insurance coverage

and reasonable pricing of such coverage. Accordingly, the Debtors request authorization to

continue to make payments under the Premium Financing Agreement and the Other Policies,

whether arising pre- or post-petition, including the financing fees associated therewith.

        19.     The Debtors believe that continued payment of the premiums as such premiums

come due in the ordinary course of business is essential to the preservation of the value of the

Debtors’ business, the continued operation of the Emergency Centers, and the care and safety of

their patients. Moreover, in many cases, the coverage provided by the Insurance Policies is

required by the regulations and laws that govern the Debtors’ activities, including the

requirement of the Operating Guidelines and Reporting Requirements for Debtors in Possession

and Trustees, issued by the Executive Office of United States Trustees (rev. 1/31/2014) (the

“U.S. Trustee Guidelines”), that a debtor maintain certain coverage.

        20.     Accordingly, the Debtors request authority to maintain their existing Insurance

Policies, the Premium Finance Agreement, and to pay and/or honor all insurance obligations

arising thereunder or in connection therewith including, but not limited to, the Premium

Financing Obligations and the Other Policy Obligations. Moreover, the Debtors request authority

to revise, extend, supplement, renew, change, or enter into new insurance coverage, as needed, in

their business judgment.

                                          AUTHORITY

A.      Payment of the Insurance Obligations is Authorized Under Bankruptcy Code
        Sections 1107(a) and 1108.

        21.     The Debtors, operating their businesses as debtors in possession under Bankruptcy

Code sections 1107(a) and 1108, are fiduciaries “holding the bankruptcy estate[s] and operating


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the business[es] for the benefit of [their] creditors and (if the value justifies) equity owners.” In

re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002). Implicit in the duties of a chapter

11 debtor in possession is the duty “to protect and preserve the estate, including an operating

business’s going-concern value.” Id.

        22.     Courts have noted that there are instances in which a debtor in possession can

fulfill its fiduciary duty “only . . . by the preplan satisfaction of a prepetition claim.” Id.; see also

In re Mirant Corp., 296 B.R. 427, 429–30 (Bankr. N.D. Tex. 2003) (allowing debtors to pay

claims “reasonably believe[d]” to be authorized under the CoServ test or whose payment was

necessary “in the exercise of their business judgment . . . in order for the debtors to continue their

respective businesses”). The CoServ court specifically noted that preplan satisfaction of

prepetition claims would be a valid exercise of a debtor’s fiduciary duty when the payment “is

the only means to effect a substantial enhancement of the estate.” CoServ, 273 B.R. at 497. The

court provided a three-pronged test for determining whether a preplan payment on account of a

prepetition claim was a valid exercise of a debtor’s fiduciary duty:

        First, it must be critical that the debtor deal with the claimant. Second, unless
        it deals with the claimant, the debtor risks the probability of harm, or,
        alternatively, loss of economic advantage to the estate or the debtor’s going
        concern value, which is disproportionate to the amount of the claimant’s
        prepetition claim. Third, there is no practical or legal alternative by which the
        debtor can deal with the claimant other than by payment of the claim.

Id. at 498.

        23.     Payment of the Insurance Obligations and revision, extension, supplementation,

renewal, change, or entering into new Insurance Policies, as needed, in their business judgment,

meets the CoServ court’s standard. As noted above, insurance coverage is required by the U.S.

Trustee Guidelines. Moreover, as a fiduciary for the bankruptcy estates, the Debtors could be




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violating their duties if they in any way jeopardize the coverage provided under the Insurance

Policies.3

        24.     Second, as described above, non-payment of the Insurance Obligations could

result in cancellation of the Insurance Policies, in which case the Debtors would not only be in

violation of the U.S. Trustee Guidelines, but also at risk of being unable to find alternative

insurance coverage and consulting services, or find such alternatives only at a much higher cost

than the Debtors currently incur. Therefore, the potential harm and economic disadvantage that

would stem from the cancellation of the Insurance Policies, and failure to renew the Insurance

Policies or revise, extend, supplement, change, or enter into new insurance arrangements, as

needed, in their business judgment, are grossly disproportionate to the amount of the Insurance

Obligations, and the costs to renew, revise, extend, supplement, change or enter into new

insurance coverage.

        25.     Accordingly, to meet their fiduciary duties as debtors in possession under

Bankruptcy Code sections 1107(a) and 1108, the Debtors must be authorized to pay the

Insurance Obligations and revise, extend, supplement, renew, change, or enter into new

Insurance Policies, as needed, in their business judgment. The Debtors thus seek authority to pay

all Insurance Obligations that may become due with respect to the Insurance Policies if such

payment is necessary in the Debtors’ business judgment to avoid cancellation or interruption of

insurance coverage or brokerage services. In addition, the Debtors seek authority to revise,

extend, supplement, renew, change, or enter into new Insurance Policies, as needed, in their




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 In addition, under state law, the Debtors may need to maintain the Workers’ Compensation Programs. If the
Debtors fail to maintain the Workers’ Compensation Program, among other things, state law may prohibit the
Debtors from operating their businesses.



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business judgment, in accordance with the Debtors’ pre-petition practice in the ordinary course

of business.

B.      The Bankruptcy Code and the Doctrine of Necessity Support Payment of the
        Insurance Obligations.

        26.      Courts have relied on Bankruptcy Code sections 105(a), 363(b), 503, and as

discussed above, 1107(a) and 1108 in authorizing payments of certain insurance obligations. The

Court may authorize the Debtors to maintain the Insurance Policies under Bankruptcy Code

sections 105(a) and 363(b)(1) because the relief requested is consistent with the value

preservation policy underlying chapter 11.

        27.      Courts have authorized payment of pre-petition obligations under Bankruptcy

Code section 363(b) where a sound business purpose exists for doing so. See In re Ionosphere

Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (authority to pay prepetition wages);

Armstrong World Indus., Inc. v. James A. Phillips, Inc. (In re James A. Phillips, Inc.), 29 B.R.

391, 398 (S.D.N.Y. 1983) (authority to pay prepetition claims of suppliers); see also In re

CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002) (authority to pay prepetition claims

to certain vendors). The Debtors submit that there is sufficient business justification to grant the

relief requested herein because failure to pay the Insurance Obligations would harm the Debtors’

estates in several ways. The Insurance Carriers could refuse to renew the Debtors’ Insurance

Policies, which would require the Debtors to obtain replacement policies and possibly to

reconfigure their risk management program. In turn, this would require the commitment of

significant resources and could result in less favorable coverage or terms from the Debtors’

insurers. Additionally, the Insurance Carriers could attempt to terminate the Debtors’ existing

policies, which could threaten the Debtors’ ability to continue operating their businesses given

the Debtors’ obligations to maintain specific amounts and types of insurance coverage.


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         28.      Moreover, Bankruptcy Code section 503(b)(1)(A) provides that “[a]fter notice

and a hearing, there shall be allowed, administrative expenses[,] including . . . the actual,

necessary costs and expenses of preserving the estate.” 11 U.S.C. § 503(b)(1)(A). The Court,

therefore, can authorize the Debtors to use estate funds to pay any obligations under the

Insurance Policies arising during or relating to the period after the Petition Date.

         29.      Additionally, the proposed payments of pre-petition Insurance Obligations should

be authorized under Bankruptcy Code section 105 and the “doctrine of necessity.” Bankruptcy

Code section 105(a), which codifies the inherent equitable powers of the Court, empowers this

Court “to issue any order. . .necessary or appropriate to carry out the provisions” of the

Bankruptcy Code. 11 U.S.C. § 105(a). The doctrine of necessity is a well-settled doctrine that

permits a bankruptcy court to authorize payment of certain prepetition claims prior to the

completion of the reorganization process where the payment of such claims is necessary to the

reorganization. See In re Just for Feet, Inc., 242 B.R. 821, 826 (D. Del. 1999) (stating that where

the debtor “cannot survive” absent payment of certain prepetition claims, the doctrine of

necessity should be invoked to permit payment);4 see also In re NVR L.P., 147 B.R. 126, 127

(Bankr. E.D. Va. 1992) (“[T]he court can permit pre-plan payment of a pre-petition obligation

when essential to the continued operation of the debtor.”); In re Eagle-Picher Indus., Inc., 124

B.R. 1021, 1023 (Bankr. S.D. Ohio 1991) (“[T]o justify payment of a pre-petition unsecured


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  The Court’s power to utilize the doctrine of necessity in chapter 11 cases derives from the Court’s inherent equity
powers and its statutory authority to “issue any order, process, or judgment that is necessary or appropriate to carry
out the provisions of this title.” 11 U.S.C. § 105(a). The United States Supreme Court first articulated the doctrine of
necessity over a century ago, in Miltenberger v. Logansport, C. & S.W.R. Co., 106 U.S. 286 (1882), in affirming the
authorization by the lower court of the use of receivership funds to pay pre-receivership debts owed to employees,
vendors, and suppliers, among others, when such payments were necessary to preserve the receivership property and
the integrity of the business in receivership. See id. at 309-14. The modern application of the doctrine of necessity is
largely unchanged from the Court’s reasoning in Miltenberger. See In re Lehigh & New Eng. Ry. Co., 657 F.2d 570,
581-82 (3d Cir. 1981) (“[I]n order to justify payment under the ‘necessity of payment’ rule, a real and immediate
threat must exist that failure to pay will place the [debtor’s] continued operation . . . in serious jeopardy.”).



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creditor, a debtor must show that the payment is necessary to avert a serious threat to the Chapter

11 process.”). The Debtors respectfully submit that payment of pre-petition Insurance

Obligations is proper under Bankruptcy Code section 105, as the Debtors’ Insurance Policies are

essential to the preservation of the Debtors’ businesses, properties, and assets and their ability to

effect a successful reorganization.

        30.      Relief similar to the relief requested herein has been granted in this district in

numerous other chapter 11 cases. See, e.g., In re Emas Chiyoda Subsea Limited, No. 17-31146

(MI), Docket No. 49 (Bankr. S.D. Tex. Mar. 1, 2017); In re Goodrich Petroleum Corp., No. 16-

31975, Docket No. 41 (Bankr. S.D. Tex. Apr. 18, 2016); In re Buccaneer Res., LLC, No. 14-

60041, Docket No. 177 (Bankr. S.D. Tex. Jul. 1, 2014); In re Autoseis, Inc., No. 14-20130,

Docket No. 61 (Bankr. S.D. Tex. Mar. 27, 2014); In re ATP Oil & Gas Corp., No. 12-36187,

Docket No. 137 (Bankr. S.D. Tex. Aug. 21, 2012).

C.      Payment of the Premium Financing Obligations Is Warranted Under Bankruptcy
        Code Sections 361, 362, and 363.

        31.      Under the Premium Financing Agreement, IPFS maintains security interests in all

proceeds from the Insurance Policies covered under the Premium Financing Agreement. Security

interests created by premium financing agreements generally are recognized as secured claims in

bankruptcy to the extent of the amount of unearned premiums financed pursuant to such

agreements. See TIFCO, Inc. v. U.S. Repeating Arms. Co. (In re U.S. Repeating Arms Co.), 67

B.R. 990, 994-95 (Bankr. D. Conn. 1986); Drabkin v. A.I. Credit Corp. (In re Auto-Train Corp.),

9 B.R. 159, 164-66 (Bankr. D.D.C. 1981). As a secured creditor, IPFS would be entitled to seek

relief from the automatic stay, either to cancel the Premium Financing Agreement in accordance

with its terms, or to seek adequate protection of their investments. See In re Universal Motor

Express, Inc., 72 B.R. 208, 211 (Bankr. W.D.N.C. 1987) (recognizing that a default under the


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financing agreement and the resulting decline in value of the unearned premiums justified relief

from the automatic stay).

          32.    A secured creditor is entitled to adequate protection of the value of its security to

protect it against diminution in the value of its collateral. Adequate protection may take many

forms, including relief from the automatic stay and authority to apply unearned premiums to the

outstanding debt. Where the unearned premiums have diminished to less than the amount of the

outstanding debt, cash payments may suffice as adequate protection of the insurance premium

financier’s interest. See TIFCO, 67 B.R. at 999-1000. Accordingly, IPFS may be entitled to

adequate protection of its interests in any unearned premiums under Bankruptcy Code section

363(e).

          33.    In addition, the use of estate assets to pay the Premium Financing Obligations

constitutes a use of estate property that should be authorized under Bankruptcy Code section

363(b) so long as a sound business purpose exists for doing so. See, e.g., Comm. of Equity Sec.

Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983); Fulton State

Bank v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir. 1991); In re Global Crossing Ltd.,

295 B.R. 726, 742 (Bankr. S.D.N.Y. 2003); In re Ionosphere Clubs, Inc., 98 B.R. 174, 175

(Bankr. S.D.N.Y. 1989); In re Gulf States Steel, Inc., 285 B.R. 497, 514 (Bankr. N.D. Ala. 2002).

The Debtors have determined, in the exercise of their business judgment, that financing the

premiums related to the Insurance Policies under the Premium Financing Agreement enables the

Debtors to maintain critical insurance coverage. Doing so is in the best interest of the Debtors’

estates and of their creditors and, therefore, should be approved.

                  WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(h)

          34.    The Debtors also request that the Court waive the stay imposed by Bankruptcy

Rule 6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other

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than cash collateral is stayed until the expiration of 14 days after entry of the order, unless the

court orders otherwise.” FED. R. BANKR. P. 6004(h). As described above, the relief that the

Debtors seek in this Motion is necessary for the Debtors to operate without interruption and to

preserve value for their estates. In particular, the payment of the Insurance Obligations is

necessary to prevent the immediate and irreparable damage to the Debtors’ business, property,

and assets and the increased costs that may arise if the Insurance Policies are allowed to lapse.

Accordingly, the Debtors respectfully request that the Court waive the 14-day stay imposed by

Bankruptcy Rule 6004(h), as the exigent nature of the relief sought herein justifies immediate

relief.

                                             NOTICE

          35.    Notice of this Motion shall be given to (a) the Office of the United States Trustee

for the Southern District of Texas; (b) the Debtors’ 50 largest unsecured creditors on a

consolidated basis; (c) Reed Smith LLP, Three Logan Square, 1717 Arch Street, Suite 3100,

Philadelphia,     PA     19103    (Attn:   Matthew      E.   Tashman),     and    via    email    to

mtashman@reedsmith.com, counsel to KeyBank National Association in its capacity as Agent

and DIP Agent; (d) the United States Attorney’s Office for the Southern District of Texas; (e) the

Insurance Carriers; (f) the United States Attorney’s Office for the Southern District of Texas; (g)

the Internal Revenue Service; (h) any party that has requested notice pursuant to Bankruptcy

Rule 2002 as of the time of service; and (i) any party required to be served under Bankruptcy

Local Rule 9013-1(d) (parties (a) – (i) above, the “Notice Parties”). Due to the nature of the

relief requested herein, the Debtors submit that no other or further notice need be provided




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                                            CONCLUSION

            The Debtors respectfully request that the Court enter an Order, substantially in the form

attached to the Motion, granting the relief requested in the Motion and such other and further

relief as may be just and proper.

        Dated: Houston, Texas
               July 12, 2018

                                                        PORTER HEDGES LLP

                                                By:      /s/ Genevieve M. Graham
                                                        John F. Higgins
                                                        State Bar No. 09597500
                                                        Eric M. English
                                                        State Bar No. 24062714
                                                        Genevieve M. Graham
                                                        State Bar No. 24085340
                                                        1000 Main Street, 36th Floor
                                                        Houston, Texas 77002
                                                        Telephone: (713) 226-6000
                                                        Fax: (713) 226-6248

                                                        PROPOSED COUNSEL FOR DEBTORS
                                                        AND DEBTORS IN POSSESSION




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                              CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing Motion was served via
CM/ECF on July 12, 2018.
                                                /s/ Genevieve M. Graham
                                                Genevieve M. Graham




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